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In the United States District Court
for the District of Puerto Rico

 

ATTENDANCE LIST

CASE NO. 15-00561 (JAG)

Date: February 13, 2019

 

 

# = DEFENDANT NAME ATTORNEY NAME

 

ATTORNEY SIGNATURE 5 cry yy ¢, DAW hiy

 

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15 Yamaris Torres-Ortiz Ramon M Gonzalez-Santiago

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16 Sayra Lopez-Torres

17 Anita Ortiz-Rodriguez

18 Sheilla Pagan-Carrasquillo
19 Elba Yanira Jimenez-Perez
20 Gretchen Roman-Soto

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39 Keila Silva-Sanchez

40 Monica Ortiz-Alicea

41 Nayda Torres-De Leon

42 Guillermo Morales-Muniz
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44 Joel Torres-Beltran

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Mario A. Carrillo-Cotto

Luis R. Rivera-Rodriguez #04 \\ . | fj :

Diego H. Alcala-Laboy Jae

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Juan A. Albino-Gonzalez
Alex Omar Rosa-Ambert

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46 Angel Velez-Rosa

47 Florentino Perez-Gonzalez
48 Ivelisse Vazquez-Garcia
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49 Maritza Rosario-Medina
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